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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

THE NIELSEN COMPANY (US), LLC,                  )
                                                )
                 Plaintiff,                     )
                                                )
         v.                                     )   C.A. No. 21-1591-CJB
                                                )
 HYPHAMETRICS, INC.,                            )
                                                )
            Defendant.                          )
THE NIELSEN COMPANY (US), LLC,                  )
                                                )
                 Plaintiff,                     )
                                                )
                                                    C.A. No. 23-136-GBW-CJB
         v.                                     )
                                                    (Consolidated)
                                                )
 HYPHAMETRICS, INC.,                            )
          Defendant                             )
                                                )
THE NIELSEN COMPANY (US), LLC,                  )
                                                )
                 Plaintiff,                     )
                                                )
         v.                                     )   C.A. No. 23-532-GBW-CJB
                                                )
 HYPHAMETRICS, INC.,                            )
          Defendant                             )



                                NOTICE OF WITHDRAWAL


       PLEASE TAKE NOTICE that Mark H. Anania, Stacey A. Scrivani, Joseph H. Huston,

Michael Eisenberg, Kristen M. Smith, Stephanie Lopez, and David L. D’Amato of Stevens & Lee

P.C., hereby withdraw their appearances as counsel for HyphaMetrics, Inc. (“HyphaMetrics”) in

the above actions. All other counsel of record on behalf of HypaMetrics will remain in these cases.
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 Dated: September 29, 2023            s/ Stacey A. Scrivani
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